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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY
                               :
                               :
                               :
UNITED STATES OF AMERICA,      :   CRIMINAL NUMBER: 97-474-05
                               :
                               :
         v.                    :          O R D E R
                               :
                               :
KAREENAH BENNETT,              :
                               :
                               :



          The defendant having filed a motion for termination

of Supervised Release,


                 It is on the day         1st   of APRIL, 2010



          ORDERED that defendant’s motion for termination of

Supervised Release is hereby DENIED.




                                   S/Joseph A. Greenaway, Jr.
                                 JOSEPH A. GREENAWAY, JR. USCJ.*

                                        *sitting by designation
